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 9                                     UNITED STATES DISTRICT COURT

10                                  NORTHERN DISTRICT OF CALIFORNIA

11                                              SAN JOSE DIVISION

12
     KEUNHO (CHRIS) PARK, et al.,                      ) No. 21-09639-EJD
13                                                     )
             Plaintiffs                                ) DEFENDANT USA’S ANSWER
14                                                     )
        v.                                             )
15                                                     )
     UNITED STATES OF AMERICA, et al.,                 )
16                                                     )
             Defendants.                               )
17                                                     )

18
19           Defendant USA (“Defendant”), by its attorneys, hereby answers Plaintiffs’ Complaint as
20 follows. 1

21      1.        This paragraph contains a jurisdictional allegation to which no response is necessary. If a
22                response is necessary, Defendant admits that the Federal Tort Claims Act is Plaintiff’s
23                exclusive remedy against the United States. Defendant denies that Dr. Sakman acted within
24                the course and scope of her federal employment with respect to some or all of the matters set
25                forth in the Complaint.
26
             1
27          The paragraph numbering corresponds with the same numbered paragraph in Plaintiffs’
     Complaint.
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 1      2.      This paragraph contains a venue allegation to which no response is necessary. If a response

 2              is necessary, Defendant admits that venue is proper in this district and division.

 3      3.      Defendant admits that Plaintiff exhausted some of their claims against Defendant. Defendant

 4              denies that Plaintiff exhausted their administrative remedies for their claims of assault,

 5              battery, sexual battery, sexual harassment, gender violence and sexual assault.

 6      4.      Admitted

 7      5.      Defendant admits that it is the sole proper defendant in Federal Tort Claims Action cases.

 8              Defendant denies that Does are proper defendants in federal cases. Defendant denies that Dr.

 9              Sakman acted within the course and scope of her federal employment with respect to some or

10              all of the matters asserted in the Complaint.

11      6.      Admitted

12      7.      Defendant denies that Does are proper defendants in federal cases.

13      8.      Denied. Dr. Sakman was not acting within the scope of her employment. Defendant denies

14              that it ratified and approved Dr. Sakman’s misconduct.

15      9.      This is an incorporation paragraph to which no response necessary.

16      10.     Defendant admits that Park began treatment with Dr. Sakman in February 2019. Defendant

17              denies that he had not received MHC care from VA Palo Alto HCS prior to that date.

18              Medical records indicate that he first received a mental health team consult at Palo Alto

19              VAHCS on September 17, 2015.

20      11.     Defendant admits that Dodge began treatment with Dr. Sakman in November 2018.

21              Defendant denies that she had not received MHC care from VA Palo Alto HCS prior to that

22              date. VA medical records indicate that she first received behavioral health care at Palo Alto

23              VAHCS on April 19, 2017.

24      12.     Defendant admits that Pere began treatment with Dr. Sakman in 2019; however, the first

25              encounter was in June, not fall. Defendant denies that he had not received MHC care from

26              VA Palo Alto HCS prior to that date. VA records indicate that he first received mental health

27              care on December 20, 2012.

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 1      13.     Defendant denies that it knew or reasonably should have known of Dr. Sakman’s behavior at

 2              issue in this Complaint prior to Dr. Sakman informing her colleagues at the VA Palo Alto

 3              HCS on or about February 16, 2020.

 4      14.     Defendant is without sufficient information to affirm or deny allegations made in

 5              subparagraphs a-q, cc-dd, ff-gg, ii, qq-ss, uu, and xx-yy and therefore denies them.

 6              Defendant denies the allegations made in subparagraphs r-bb, jj – pp, tt, vv, zz, and aaa-bbb.

 7              By way of further response generally, see response to Paragraph 13. Additionally, by way of

 8              further response specifically to zz and aaa, Defendant states that, after Dr. Sakman came

 9              forward and confessed, and prior to completion of an internal investigation, Dr. Sakman

10              resigned from VA employment after admitting to an inappropriate romantic and sexual

11              relationship with Plaintiff Park. Further, VA cannot disclose details of its initiated employee

12              disciplinary investigation under the Privacy Act. See 65 FR 146 (2000); Current SORN List

13              (va.gov).

14      15.     This paragraph contains an argument regarding the scope of employment issue; therefore, no

15              response necessary. If a response is necessary, Defendant denies Plaintiff’s characterization

16              of that issue. See response to Paragraphs 8 and 13.

17      16.     Denied.

18      17.     Denied.

19      18.     Denied.

20      19.     This is an incorporation paragraph; therefore, no response is necessary.

21      20.     This paragraph contains the anticipated opinions of Plaintiffs’ retained and non-retained

22              experts; therefore, no response is necessary. Moreover, the paragraph does not contain any

23              citation to authority. If a response is required, Defendant denies this paragraph at this time

24              for lack of knowledge.

25      21.     See response to Paragraph 20.

26      22.     See response to Paragraph 20.

27      23.     See response to Paragraph 20.

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 1      24.     See response to Paragraph 20.

 2      25.     Paragraph 25 contains conclusions of law to which no response is necessary. If a response is

 3              required, Defendant denies these allegations. See also response to Paragraph 13.

 4      26.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 5              therefore denies them.

 6      27.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 7              therefore denies them.

 8      28.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 9              therefore denies them.

10      29.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

11              therefore denies them.

12      30.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

13              therefore denies them.

14      31.     This paragraph contains a statement of law to which no response is necessary.

15      32.     This paragraph contains a conclusion of law to which no response is necessary. If a response

16              is required, it is denied.

17      33.     Defendant lacks sufficient information to admit or deny the allegation in this paragraph and

18              therefore denies them.

19      34.     Denied.

20      35.     This paragraph contains a conclusion of law to which no response is necessary. If a response

21              is required, it is denied.

22      36.     Denied.

23      37.     Denied.

24      38.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

25              therefore denies them.

26      39.     Denied.

27      40.     This is an incorporation paragraph; therefore, no response necessary.

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 1      41.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 2              therefore denies them.

 3      42.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 4              therefore denies them.

 5      43.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 6              therefore denies them.

 7      44.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 8              therefore denies them.

 9      45.     Denied.

10      46.     Denied

11      47.     Denied

12      48.     This is an incorporation paragraph; therefore, no response necessary.

13      49.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

14              therefore denies them.

15      50.     Admitted.

16      51.     Admitted.

17      52.     Denied.

18      53.     Denied.

19      54.     Denied.

20      55.     Denied.

21      56.     Denied.

22      57.     Denied.

23      58.     This is an incorporation paragraph; therefore, no response necessary.

24      59.     This paragraph contains a statement of law to which no response is necessary.

25      60.     This paragraph contains a conclusion of law to which no response is necessary. If a response

26              is required, Defendant states that Dr. Sakman’s sexual conduct was outside the scope of her

27              employment and thus the government is not liable under the Federal Tort Claims Act.

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 1      61.     Defendant admits that Defendant became aware of Dr. Sakman’s sexual relationship with

 2              Plaintiff Park after she confessed to such on or about February 16, 2020. Defendant lacks

 3              sufficient information to admit or deny as to Park seeing any conduct by Dr. Sakman as

 4              unwelcome, pervasive, and/or severe and therefore denies those allegations. Defendant lacks

 5              sufficient information to admit or deny as to the allegations concerning Plaintiffs Pere and

 6              Dodge and therefore denies them.

 7      62.     Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 8              therefore denies them.

 9      63.     Denied. See response to paragraph 60

10      64.     Denied.

11      65.     Denied.

12      66.     Denied.

13      67.     Denied.

14      68.     This is an incorporation paragraph; therefore, no response necessary

15      69.     This paragraph contains a statement of law to which no response is required

16      70.     Admitted.

17      71.     This paragraph contains a conclusion of law to which no response is necessary.

18      72.     This paragraph contains a conclusion of law to which no response is necessary.

19      73.     Denied.

20      74.     Denied.

21      75.     Denied.

22      76.     Denied.

23      77.     Denied.

24      78.     This is an incorporation paragraph; therefore, no response necessary.

25      79.     This paragraph contains a statement of law to which no response is required

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 1       80.      Defendant lacks sufficient information to admit or deny the allegations in this paragraph and

 2                therefore denies them. The paragraph also contains a conclusion of law to which no response

 3                is necessary.

 4       81.      This paragraph contains a conclusion of law to which no response is necessary.

 5       82.      This paragraph contains a conclusion of law to which no response is necessary.

 6       83.      This paragraph contains a conclusion of law to which no response is necessary.

 7       84.      Denied.

 8       85.      Denied.

 9       86.      This is an incorporation paragraph; therefore, no response necessary.

10       87.      This paragraph contains a statement of law to which no response is necessary.

11       88.      This paragraph contains a conclusion of law to which no response is necessary.

12       89.      This paragraph contains a conclusion of law to which no response is necessary.

13       90.      This paragraph contains a conclusion of law to which no response is necessary.

14       91.      Denied.

15       92.      Denied.

16             Defendant denies all factual allegations that Defendant has not expressly admitted.

17             Plaintiff’s Prayer for Relief requires no response. If a response is required, Defendant denies

18 that Plaintiffs are entitled to any relief. Plaintiff’s relief is also limited to the relief available under the
19 Federal Torts Claims Act, which does not provide for attorney’s fees, special damages, interest, or the

20 right to a jury trial.

21                                           AFFIRMATIVE DEFENSES

22                                       FIRST AFFIRMATIVE DEFENSE

23             Plaintiffs have failed to state a claim upon which relief can be granted.

24                                      SECOND AFFIRMATIVE DEFENSE

25             This Court lacks subject matter jurisdiction over some or all of Plaintiffs’ claims. The Federal

26 Tort Claims Act is a limited waive of sovereign immunity. Dr. Sakman acted outside the scope of her

27 federal employment with respect to some or all of the matters set forth in the Complaint. Alternatively,

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 1 the intentional tort exception of the Federal Tort Claims Act bars recovery against Defendant for Dr.

 2 Sakman’s intentional misconduct. Any claims for negligent hiring, training, supervision, and retention

 3 are barred by the discretionary function exception of the Federal Tort Claims Act. For these reasons,

 4 sovereign immunity bars some or all of Plaintiffs’ claims.

 5                                    THIRD AFFIRMATIVE DEFENSE

 6          Any injuries, loss, or damage sustained by Plaintiffs were caused in whole or in part by the

 7 Plaintiffs’ negligent conduct (e.g., failing to report Dr. Sakman’s misconduct to the VA) and any

 8 recovery by Plaintiffs must be reduced proportionately by the percentage of such negligent conduct.

 9                                   FOURTH AFFIRMATIVE DEFENSE

10          The alleged injuries and damages of Plaintiffs were not proximately caused by a negligent,

11 careless or wrongful act or omission of the Defendant United States or its employees acting within the

12 course and scope of their federal employment.

13                                     FIFTH AFFIRMATIVE DEFENSE

14          Pursuant to 28 U.S.C. § 2675(b), Plaintiffs are prohibited from seeking an amount over the

15 amount asserted in their administrative claims. Plaintiffs are also prohibited from asserting claims that

16 were not included in their administrative claims which the VA did not have the opportunity to

17 investigate.

18                                     SIXTH AFFIRMATIVE DEFENSE

19          Plaintiffs are not entitled to a jury trial against the United States in a Federal Tort Claims Act

20 case. 28 U.S.C. § 2402.

21                                  SEVENTH AFFIRMATIVE DEFENSE

22          Plaintiffs have failed to mitigate any alleged damages (e.g., failing to report Dr. Sakman’s

23 misconduct to the VA).

24                                   EIGHTH AFFIRMATIVE DEFENSE

25          The concurrent acts of others, and not of the Defendant United States or its employees acting

26 within the scope of their employment, were the proximate cause of the occurrence set forth in Plaintiffs’

27 Complaint.

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 1                                    NINTH AFFIRMATIVE DEFENSE

 2          The acts of others, and not Defendant United States or its employees acting within the scope of

 3 their employment, were the sole and proximate intervening and/or superseding cause of the occurrence

 4 set forth in Plaintiffs’ Complaint.

 5                                    TENTH AFFIRMATIVE DEFENSE

 6          Plaintiffs’ damages against the United States are limited to the damages recoverable under the

 7 Federal Tort Claims Act. Attorney’s fees are governed by that statute.

 8                                 ELEVENTH AFFIRMATIVE DEFENSE

 9          The damages alleged in the Compliant are excessive and/or speculative.

10                                  TWELFTH AFFIRMATIVE DEFENSE

11          Plaintiffs’ injuries or damages, if any, were caused by the negligence or wrongful acts of third

12 parties that were not under the control of the Defendant United States.

13                                THIRTEENTH AFFIRMATIVE DEFENSE

14          Plaintiffs are not entitled to an award of pre-judgment interest as to the United States.

15                               FOURTEENTH AFFIRMATIVE DEFENSE

16          Plaintiffs are not entitled to an award of post-judgment interest as to the United States.

17                                 FIFTEENTH AFFIRMATIVE DEFENSE

18          Plaintiffs shall not be entitled to recover damages for past medical expenses or past lost earnings

19 for which they have received payment from any collateral source except to the extent permitted by CA

20 tort law.

21                                 SIXTEENTH AFFIRMATIVE DEFENSE

22          If Defendant United States was negligent, which is expressly denied, others were also negligent.

23 Defendant may thus only be held liable for its proportionate share of the fault, if any.

24                               SEVENTEENTH AFFIRMATIVE DEFENSE

25          Damages recoverable, if any, are subject to the limits of the law of the state of

26 California, including limitations on the award of non-economic damages.

27        Defendant reserves the right to raise any and all possible affirmative defenses that

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 1 may come forth as a result of discovery procedures.

 2        WHEREFORE, having answered the Complaint, Defendant requests the Complaint be dismissed,

 3 and that it be compensated for its costs incurred herein, and for such further relief as is deemed just and

 4 proper by this Court.

 5

 6 DATED: March 29, 2021                                  STEPHANIE M. HINDS
                                                          United States Attorney
 7

 8                                                        /s/ James A. Scharf
                                                          JAMES A. SCHARF
 9                                                        Assistant United States Attorney
                                                          Attorneys for Defendant USA
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